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IN THE UNITED STATES DISTRICT COURT FILED eS
FOR THE NORTHERN DISTRICT OF TEXAS 7B

AMARILLO DIVISION 28 2023

CLERK, U.S. DISTRICT COURT

 

 

 

 

 

 

 

ALLIANCE FOR HIPPOCRATIC § By AA
MEDICINE, et al., § ee
§
Plaintiffs, §
§
v. § 2:22-CV-223-Z
§
U.S. FOOD AND DRUG §
ADMINISTRATION, et al., §
§
Defendants. §
ORDER

Before the Court is The Coalition for Jewish Values Healthcare Council’s Motion to Join Brief
of Amici Curiae Susan B. Anthony Pro-Life America et al. in Support of Plaintiffs’ Motion for
Preliminary Injunction (“Motion”) (ECF No. 112), filed on February 17, 2023. Having considered the

Motion, the Court GRANTS the Motion.
February 7? g. 2023 AAA

MATAHEW J. KACSMARYK
UNITED STATES DISTRICT JUDGE

 

 
